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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 JAKUB MADEJ,
      Plaintiff,                                           Civil Action No.
                                                           3:20-cv-00133 (JCH)
 v.
                                                           Jury Trial Demanded
 YALE UNIVERSITY et al.
      Defendants.                                          August 1, 2020


                 PLAINTIFF’S MOTION TO FILE EXCESS PAGES
      IN PLAINTIFF’S REPLY BRIEF TO DEFENDANT’S OBJECTION (ECF #133)

       Plaintiff Jakub Madej (“Jakub”) respectfully moves the Court for leave to file a Reply to

Defendants’ Objection (ECF #133) in excess of the 10 pages allowed by Local Rule 7(d).

Jakub’s proposed filling will not exceed 25 pages, excluding captions and signatures. The

additional pages are necessary to adequately address Defendants’ blatant discovery misconduct

that raises compelling questions about the integrity of the discovery process in this case.

       On July 13, 2020, Jakub moved to compel Defendant Yale University (“Yale”) to provide

full responses to seven interrogatories due June 29, objections waived for failure to timely

respond pursuant to Fed. R. Civ. P. 33(d)(4). (ECF #129). On July 21, 2020, Yale objected to

that motion, claiming that it served responses at least twice before plaintiff moved to compel

(ECF #133). Jakub believes that Yale’s argument lacks an arguable basis either in law or in fact.

Jakub also asserts that Yale’s counsel made, and continues to make, material misrepresentations

to the Court that undermine the fundamental principles of candor underlying the present

proceedings. While Jakub has endeavored to make his presentation as succinct as possible, the

nature and importance of the discovery misconduct alleged necessitates an enlargement of the

Court’s page limits.
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       For the foregoing reasons, Plaintiff Jakub Madej requests that the Court grant his Motion

to File Excess Pages.


Dated: August 1, 2020                           Respectfully submitted,
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